  Case 2:19-cr-00019-Z-BR Document 26 Filed 03/06/19                 Page 1 of 2 PageID 48



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  Plaintiff,                                     §
                                                 §
  v.                                             §      2:19-CR-00019-D-BR-1
                                                 §
  LINDSAY CRAVEN (1)                             §
                                                 §
  Defendant.                                     §

                    ORDER ON ARRAIGNMENT
AND ORDER GRANTING GOVERNMENT’S MOTION FOR PRETRIAL DETENTION

       On March 6, 2019, Defendant, LINDSAY CRAVEN (1), appeared in person and with

counsel, Bonita L. Gunden-FPD, before the undersigned United States Magistrate Judge. The

United States appeared by and through the Assistant United States Attorney.

        Pursuant to Federal Rule of Criminal Procedure 10, Defendant received a copy of the

Indictment that had been filed. The reading of the Indictment was waived, and the defendant

was then advised of the maximum penalties, which might be imposed if found guilty. The

defendant acknowledged understanding same, and the defendant entered a plea of not guilty as to

the counts filed in the Indictment.

        The government had previously filed a Motion for Pretrial Detention of the defendant

alleging there are no conditions of release that will reasonably assure the defendant’s appearance,

as required, nor the safety of any other person and the community. The government gave notice

that they would seek to invoke the rebuttable presumption against the defendant on the basis that

there is probable cause to believe the defendant committed a ten (10) year drug offense.
  Case 2:19-cr-00019-Z-BR Document 26 Filed 03/06/19                Page 2 of 2 PageID 49



       After consideration of the testimony and argument presented at the Detention Hearing,

the Court finds the defendant failed to rebut the presumption of danger and the presumption of

flight risk. The government’s Motion for Pretrial Detention is GRANTED.

       A Criminal Trial Scheduling Order setting the trial date and pretrial motions deadline for

this case will be by separate order of the Court.

       Defendant, LINDSAY CRAVEN (1), was remanded to the custody of the United States

Marshal.

       IT IS SO ORDERED.

       ENTERED on March 6, 2019.



                                                    __________________________________
                                                    LEE ANN RENO
                                                    UNITED STATES MAGISTRATE JUDGE
